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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                      MEDFORD DIVISION




AUDUBON SOCIETY OF                                      Case No.   1: 17-cv-00069-CL (lead)
PORTLAND, an Oregon non-profit                          Case No.   1: 17-cv-00098-CL (trailing)
Corporation; OREGON WILD, an                            Case No.   1: 17-cv-00468-CL (trailing)
Oregon non-profit corporation; and                      Case No.   1: 17-cv-00531-CL (trailing)
WATERWATCH OF OREGON, an
Oregon non-profit corporation,

                       Plaintiffs,
               V.                                        OPINION & ORDER

RY AN ZINKE, in his
official capacity as Secretary of
the Interior; JIM KURTH, in his
official capacity as Acting Director of the
U.S. Fish and Wildlife Service; and
UNITED STATES FISH AND
WILDLIFE SERVICE, a federal
agency of the U.S. Department of
the Interior,

                       Defendants,

TULELAKE IRRIGATION DISTRICT;
KLAMATH WATER USERS
ASSOCIATION; TULELAKE
GROWERS ASSOCIATION;
TALLY HO FARMS
PARTNERSHIP dba WALKER

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BROTHERS; FOUR H ORGANICS,
LLC; and WOODHOUSE FARMING
AND SEED COMPANY,

                       Intervenor-Defendants.


CLARKE, Magistrate Judge.

       On April 17, 2017, the Court ordered the parties to confer regarding a proposed briefing

schedule. The parties agree on most scheduling issues, and their proposed schedules are largely

similar; however, the conservation organizations and federal defendants disagree with each other

on a procedure for resolving disputes over the completeness of the administrative record, as well as

the number of summary judgment response briefs federal defendants should be allowed to file and

when, exactly, each parties' briefs will be due. The Court adopts aspects of both proposals and sets

forth the consolidated cases' briefing schedule below.

I.     Procedure for resolving administrative-record disputes

       First, the Court notes all parties agree that issues over completeness of the administrative

record should be addressed first through out-of-court negotiation between the parties. Moreover,

all parties agree that motions challenging "threshold issues" over completeness of the

administrative record should be filed prior to any party moving for summary judgment. Finally, all

pai1ies agree on the dates any negotiations and/or motions pertaining to threshold administrative-

record issues must be completed or filed by. The Court agrees and adopts the parties' proposed

dates, as set forth below.

       Next, the conservation organizations argue all plaintiffs should be entitled to file with their

summary judgment briefs any extra-record materials not dealt with at the "threshold" stage and

that they wish the Court to consider on summary judgment; they argue this would streamline the

process because "parties can usually only demonstrate that the Court should consider extra-record


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materials by reference to their arguments on the merits and the facts of the case." Proposed

Briefing Schedule, at 4. Federal defendants, by contrast, contend disputes regarding extra-record

materials should be addressed through separate briefing prior to summary judgment.

       The Court agrees with the conservation organizations. It is not until the parties have

completely reviewed the evidence and refined and narrowed their arguments that the full extent of

extra-record materials, if any, a party will ask the Court to consider can truly be known. Until such

time, attempting to assess what extra-record materials may be necessary to adequately set out an

argument on summary judgment would be highly speculative and result in a waste of judicial-not

to mention party-resources, as the Court would almost certainly be asked to address the

acceptability of extra-record materials that would ultimately prove unnecessary for summary

judgment purposes. In addition, a requirement that all issues of extra-record materials be addressed

before any party moves for summary judgment necessarily prohibits a party from seeking to

supplement the record once summary judgment has commenced, no matter the good-faith reason

for doing so.

       Such a restrictive outcome seems unnecessary and less efficient than the alternative. And,

indeed, it is not how this Court has dealt with the issue in the past. See Ctr. for Biological Diversity

v. Wagner, Civ. No. 08-302-CL, 2009 WL 2176049, at *7-9 (D. Or. Jun. 29, 2009) (after stating

that the Court may inquire into materials outside the administrative record when necessary to

explain an agency's action, the Court admitted and analyzed a declaration containing extra-record

materials that was submitted by the federal defendants in their summary judgment reply brief).

Finally, a procedure that entitles parties to file any extra-record materials they wish the Court to

consider on summary judgment with their briefs runs in tandem with the District's practice of

handling many evidentiary issues on summary judgment. See LR 56-1 (b ).



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       Accordingly, the Court holds that parties are not foreclosed from seeking to supplement the

record once summary judgment briefing begins. That said, however, as federal defendants

rightfully point out, the party who seeks to admit extra-record materials has the initial burden of

demonstrating to the Court why the materials should be considered. 1 San Luis & Delta-Mendota

Water Auth. v. Locke, 776 F.3d 971, 993 (9th Cir. 2014) ("[T]he party seeking to admit extra-

record evidence initially bears the burden of demonstrating that a relevant exception applies").

II.    Number of briefs per party

            Next, the conservation organizations and federal defendants disagree over the number of

summary judgment response briefs federal defendants should be entitled to file. Four cases have

been consolidated in this matter, and the conservation organizations maintain that plaintiffs in each

case should be entitled to file a separate motion for summary judgment with respect to each case.

They then argue, however, that, for the sake of judicial efficiency, federal defendants' response

and cross-motion for summary judgment should be confined to a single brief. Federal defendants

assert that they, like plaintiffs, should be entitled to separate briefs, "as opposed to a single brief

addressing the arguments of plaintiffs in four separate cases[,] on account of the differences in the

claims brought in each case, as well as the ability to keep the cases separate in the event of

appeal." Proposed Briefing Schedule, at 8-9.

       The Court agrees with federal defendants that they, like plaintiffs, should be entitled to file

separate briefs. Allowing federal defendants to file separate briefs comports with notions of equity;

indeed, providing one set of parties with the privilege of submitting four separate briefs, while at

the same time limiting the responding parties to a single brief that will inevitably contain some




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         It does not appear the conservation organizations challenge this requirement. See Proposed Briefing
Schedule, at 4.

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restrictive page limit necessarily prejudices the responding parties by restricting the thoroughness

or adequacy of their response and cross-motion for summary judgment.

       With that said, however, the Court thinks the most logical path forward is to provide all

parties with the option of submitting either a single brief or separate briefs in moving, responding,

or replying to summary judgment motions. As the parties themselves acknowledge, "[ u ]ntil a party

actually receives the briefs to which it must respond," or determines the arguments it must make in

initially moving for summary judgment, "it cannot be determined how to most effectively and

efficiently" structure their motions or responses. Proposed Briefing Schedule, at 12. For instance',

while preparing to move for summary judgment, plaintiffs may decide that a single summary

judgment brief is more efficient and more persuasive than four separate briefs; likewise, after

taking into account the degree of commonality between the four cases, federal defendants may

ultimately conclude that a single response brief is most logical. Accordingly, after taking into

account matters of equity and efficiency, the Court believes it most sensible for the parties to make

their own determination on the number of summary judgment briefs-opening, response, and

reply-to file in this matter. Federal defendants will therefore not be restricted to a single response

brief, as requested by the conservation organizations; instead, should they choose, federal

defendants, like plaintiffs, will be allowed to file separate briefs addressing summary judgment in

all four of the consolidated cases.

         Finally, the conservation organizations ask that if the Court allows federal defendants to

file separate briefs, the Court should then extend the deadline for plaintiffs to file their respective

replies in support of their motions for summary judgment and responses to the federal defendants'

cross-motions for summary judgment; the conservation organizations argue this additional time

will be necessary to address the increased number of briefs. The Court believes federal defendants'



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staggered approach, set forth in the briefing schedule below, sufficiently addresses plaintiffs'

concern. Accordingly, the Court adopts this approach. 2

III.    Briefing Schedule

        The briefing schedule for the four consolidated cases is as follows:

            a.On or before June 30, 2017, plaintiffs shall notify federal defendants whether they
              believe the administrative record is complete or should be completed with additional
              materials. Should a dispute arise regarding the completeness of the administrative
              record, the parties will attempt to negotiate a resolution. Whether there is need to
              supplement the record with extra-record materials, and whether the proffered extra-
              record materials are within any exceptions to record review, will be addressed at
              summary judgment.

            b.The parties will file a status report on or before July 28, 2017, notifying the Court
              that either (a) they have reached agreement that the records for judicial review are
              complete, or (b) one or more parties intend to move the Court to resolve a dispute
              regarding completeness of the administrative record.

            c. Any motion challenging completeness of the administrative record shall be filed by
               August 11, 2017. Briefing on any such motion shall proceed in accordance with
               LR7. The Court will rule on any such motion as expeditiously as practicable so the
               matter is resolved prior to commencement of summary judgment briefing.

            d.On or before August 21, 2017, plaintiffs shall file separate motions for summary
              judgment in their respective cases, or, should they choose, a single motion for
              summary judgment addressing all four cases.

            e. On or before November 20, 2017, federal defendants and intervenor-defendants shall
               each file separate oppositions to plaintiffs' motions for summary judgment and cross-
               motions for summary judgment in the following cases: Center for Biological Diversity
               v. U.S. Fish and Wildlife Service, No 1: 17-cv-468-CL, and Western Watersheds Project
               v. U.S. Fish and Wildlife Service, No. 1:17-CV-98-CL.

            f. On or before December 4, 2017, federal defendants and intervenor-defendants shall
               each file separate oppositions to plaintiffs' motions for summary judgment and
               cross-motions for summary judgment in the following cases: Audubon Society of
               Portland et al. v. Sally Jewell et al., No. 1: 17-CV-69-CL, and Tulelake Irrigation


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           The Court notes, however, that if federal defendants decide, in their discretion, to file a single response and
cross-motion, as opposed to separate briefs, and plaintiffs also choose to reply/respond to federal defendants' response
and cross-motion in a single brief, there will be no need for plaintiffs to stagger their reply/response, and therefore
plaintiffs' single reply/response brief shall be due on the date the second set of reply/response briefs would have been
due under the staggered approach.

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              District et al. v. U.S. Fish and Wildlife Service et al., No. l 7-cv-531-CL. 3

            g.On or before December 20, 2017, plaintiffs in Center.for Biological Diversity v. U.S.
              Fish and Wildlife Service, No 1: 17-cv-468-CL, and Western Watersheds Project v.
              U.S. Fish and Wildlife Service, No. 1: 17- CV-98-CL, shall each file their respective
              replies in support of motions for summary judgment and responses to cross-motions
              for summary judgment in their respective cases.

            h.On or before January 4, 2018, plaintiffs in Audubon Society of Portland et al. v. Sally
              Jewell et al., No. 1: 17-CV-69-CL, and Tulelake Irrigation District et al. v. U.S. Fish
              and Wildlife Service et al., No. l 7-cv-531-CL, shall each file their respective replies in
              support of motions for summary judgment and responses to cross-motions for summary
              judgment in their respective cases. 4

            i. On or before January 29, 2018, federal defendants and intervenor-defendants shall
               each file separate replies in support of their cross-motions for summary judgment in the
               following cases: Center for Biological Diversity v. U.S. Fish and Wildlife Service, No
               1: 17-cv-468-CL, and Western Watersheds Project v. U.S. Fish and Wildlife Service,
               No. 1:17-CV-98-CL.

            j. On or before February 12, 2018, federal defendants and intervenor-defendants shall
               each file separate replies in support of their cross-motions for summary judgment in the
               following cases: Audubon Society of Portland et al. v. Sally Jewell et al., No. 1: 17-CV-
               69-CL, and Tulelake Irrigation District et al. v. U.S. Fish and Wildlife Service et al.,
               No. 17-cv-531-CL. 5

Page limits for all briefs will be in accordance with the local rules, unless a party or parties choose

to consolidate separate briefs into one single brief, in which case, that party or

for an extension of the page limit.




                                                     United States Magistrate Judge
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            Should they choose, federal defendants and intervenor-defendants may instead each file a single opposition
to plaintiffs' motion(s) for summary judgment and cross-motion for summary judgment addressing all four cases. If
they choose to do so, the brief is due December 4, 2017.
          4
            Should they choose, plaintiffs may instead file a single reply in support of their motion(s) for summary
judgment and response to cross-motion(s) for summary judgment. If they choose to do so, the brief is due January 4,
2017.
          5
            Should they choose, federal defendants and intervenor-defendants may instead each file a single reply in
support of their respective cross-motion(s) for summary judgment.

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